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        In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                              No. 14-488V
                                        Filed: October 13, 2015

* * * * * * * * * * * * * * * *                                    UNPUBLISHED
LAURA RIGGS,                  *
                              *
          Petitioner,         *                                    Special Master Gowen
                              *
v.                            *
                              *
SECRETARY OF HEALTH           *                                    Stipulation;
AND HUMAN SERVICES,           *                                    Attorneys’ Fees and Costs
                              *
          Respondent.         *
                              *
* * * * * * * * * * * * * * * *

Erin A. Juzapavicus, Milam Howard Nicandri Dees & Gillam, P.A., Jacksonville, FL, for
petitioner.
Julia W. McInerny, United States Department of Justice, Washington, DC, for respondent.

                       DECISION ON ATTORNEYS’ FEES AND COSTS1

        On June 6, 2014, Laura Riggs (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner alleged
that as a result of receiving an influenza (“flu”) vaccine on January 16, 2013, she suffered
Rotator Cuff Tendinopathy. Petition at Preamble. Further, petitioner alleged that she
experienced residual effects of his injury for more than six months. Id. at ¶ 25. A Decision was
issued on March 25, 2015, awarding compensation pursuant to the parties’ stipulation filed
March 24, 2015. Judgment was entered March 27, 2015.
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified
as amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each party has 14 days
within which to request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes medical files or
similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine
Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-
1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine
Act are to 42 U.S.C.A. § 300aa.


                                                      1
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       On October 9, 2015, the parties filed a Stipulation concerning attorneys’ fees and costs.
The parties stipulate to an award of $11,867.67 in attorneys’ fees and costs. Stip. of Fact ¶ 3.
Pursuant to General Order #9, petitioner’s counsel also represented that petitioner had not
incurred any reimbursable out-of-pocket expenses in this matter. Id. at ¶ 4.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. § 300
aa-15(e). Based on the reasonableness of the parties’ stipulation, the undersigned GRANTS the
request for approval and payment of attorneys’ fees and costs.

    Accordingly, I hereby award:

    (1) A lump sum of $11,867.67 in the form of a check payable jointly to petitioner and
        petitioner’s counsel of record, Erin A. Juzapavicus, for petitioner’s attorneys’ fees
        and costs.

    The clerk of the court shall enter judgment in accordance herewith.3

IT IS SO ORDERED.


                                               s/ Thomas L. Gowen
                                               Thomas L. Gowen
                                               Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                   2
